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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

STEWART SMITH, Individually and        : CIVIL ACTION
on behalf of all others similarly situated,
                                       :
                        Plaintiff      :
                                       : Case No.: 2:20-CV-3583-BMS
             v.                        :
                                       :
                                       :
DIRECT BUILDING SUPPLIES, LLC and :
DOES 1 through 10, inclusive, and each :
of them,                               : DEMAND FOR JURY TRIAL
                     Defendants        :


                  DEFENDANT, DIRECT BUILDING SUPPLIES, LLC’S
               MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

        Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant, Direct Building Supplies, LLC, by its

attorneys Tucker Arensberg, P.C., hereby moves to dismiss Plaintiff’s Amended Complaint, and

in support thereof, states:

        1.      Plaintiff, Stewart Smith (“Plaintiff”), initiated this action by filing a Complaint

before this Honorable Court on July 22, 2020, alleging negligent violations of the Telephone

Consumer Protection Act, (“TCPA”), and willful violations of the TCPA on behalf of himself and

two putative classes of allegedly similarly situated individuals. Doc. 1.

        2.      On September 17, 2020, Defendant, Direct Building Supplies (“Defendant”), filed

an Uncontested Motion for Extension of Time to Respond to the Complaint. Doc. 3.

        3.      On October 30, 2020, Defendant moved to dismiss Plaintiff’s Complaint. Doc. 6.

        4.      In response, on November 13, 2020, Plaintiff filed an Amended Complaint. Doc.

8.

        5.      Plaintiff’s alleged two putative classes, the “ATDS Class,” and the “DNC Class,”

should be dismissed as impermissible fail-safe classes.
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        6.      Plaintiff’s Amended Complaint fails to plead sufficient factual allegations to

overcome the particularity requirements of Fed. R. Civ. P. 8(a)(2).

        7.      Plaintiff has not stated a viable claim for negligent violations of the TCPA.

        8.      Plaintiff has not stated a viable claim for willful violations of the TCPA.

        9.      Plaintiff has not plead sufficient facts to establish a do-not-call claim under the

TCPA.

        10.     Plaintiff has not plead sufficient facts to establish he is a residential telephone

subscriber, and therefore has a private right of action under the TCPA.

        11.     For the all of the reasons set forth in the accompanying Memorandum of Law,

which is incorporated herein by reference, Defendant hereby moves for an Order dismissing

Plaintiff’s Amended Complaint, with prejudice.

        WHEREFORE, Defendant, Direct Building Supplies, LLC, requests this Honorable Court

to dismiss Plaintiff’s Amended Complaint, with prejudice.

                                                      TUCKER ARENSBERG, P.C.


Dated: November 25, 2020                          By /s/ Kevin L. Hall
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                               CERTIFICATE OF SERVICE


       I, Kevin L. Hall, Esquire, of the law firm of Tucker Arensberg, P.C., hereby certify that I

served a true and correct copy of the foregoing document this date through the Court’s Electronic

Case Filing (ECF) system on the individuals as follows:



                                   Cynthia Z. Levin, Esquire
                                  Todd M. Friedman, Esquire
                                 1150 First Avenue, Suite 501
                                  King of Prussia, PA 19406
                                    Attorneys for Plaintiffs




                                                    TUCKER ARENSBERG, P.C.


Dated: November 25, 2020                        By /s/ Kevin L. Hall
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